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EXHIBIT A-1
FILED: ERIE COUNTY CLERK 04/19/2018 02:42 PM                                                                                                                                                 INDEX NO. 806234/2018
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                                                                                     RECEIVED




         STATE               OF     NEW YORK
         SUPREME                    COURT                    :   COUNTY                  OF      ERIE




         SKY          GLOBAL                 LLC                                                                                        SUMMONS
         4476         Main         Street,         Suite         104

         Amherst,             New           York           14226,                                                                       Index            No.




                                                                         Plaintiff,
         v.


         WILLIAM                   NOBLE
         54 Highland                 Park          Village

         Dallas,        Texas          75205,


         and



         WILLIAM                   NOBLE                   RARE          JEWELS               LP
         54    Highland              Park          Village

         Dallas,        Texas          75205,


                                                                         Defendants.




         TO THE               ABOVE-NAMED                                  DEFENDANTS:


                                       YOU             ARE            HEREBY                  SUMMONED                       to      answer                the     complaint            in    this   action


         and       to   serve         a copy                of   your       answer            upon         plaintifFs             attorney                 at    the     address         stated      below


         within         twenty             (20)      days        after      the       personal          service         of    this       summons,                      exclusive         of   the    day      of


         service        (or       within          thirty         (30)     days        after      service       is complete                 if     this          summons             is not    personally


         delivered            to     you          within          the     State         of    New       York);          and        in     case           of      your       failure      to    appear         or



         answer,             judgment                will        be      taken         against         you        by     default                for      the       relief       demanded             in    the



         complaint.



                                       Plaintiff             designates               Erie    County           as the        place        of      trial.          The       basis     of venue       is



         Plaintiffs            residence,




                                                                                                        1 of 2
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                                                                      RECEIVED




         DATED:      Buffalo,         New    York

                     April      19,   2018                PHILLIPS               LYTLE              LLP




                                                                                           +Cyc             i C,
                                                          By
                                                                        Amanda             L.      Lowe,    Esq.
                                                          Attorneys          for       Plaintiff
                                                          SkyGlobal          LLC
                                                          One        Canalside
                                                          125    Main       Street

                                                          Buffalo,        New          York        14203-2887

                                                          Telephone              No.      (716)       847-8400
                                                          alowe@phillipslytle.com




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